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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

                                                  )
UNITED STATES OF AMERICA,                         )
                                                  )
                                                  )
               v.                                 )
                                                  ) Criminal Action No. 23-mj-00274-MN
ROBERT HUNTER BIDEN,                              )
                                                  )
                       Defendant.                 )
                                                  )
                                                  )


                    DEFENDANT’S RESPONSE TO THE UNITED STATES’
                       MOTION TO DISMISS FOR LACK OF VENUE

       Defendant Robert Hunter Biden, by and through undersigned counsel, respectfully submits

this response to the United States’ Motion to Dismiss for Lack of Venue. (D.I. 31).

       Without adopting the Government’s reasoning, as venue for the existing information does

not lie in this District, the information must be dismissed.

       Further, the Defendant’s position is that the enforceability of the Diversion Agreement

(D.I. 24-1 in No. 23-cr-00061-MN) has no bearing on the United States’ Motion to Dismiss for

Lack of Venue (D.I. 31 in No. 23-mj-00274-MN), and any disputes regarding the effect of the

Diversion Agreement are therefore not before the Court at this time.
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Dated: August 15, 2023            Respectfully submitted,

                                  WINSTON & STRAWN LLP


                                  /s/ Abbe David Lowell
                                  Abbe David Lowell
                                  1901 L Street NW
                                  Washington, D.C. 20036
                                  (202) 282-5000
                                  adlowell@winston.com

                                  CLARK SMITH VILLAZOR LLP

                                  Christopher J. Clark
                                  250 West 55th Street, 30th Floor
                                  New York, NY 10019
                                  (212) 582-4400
                                  clark@csvllp.com

                                  LATHAM & WATKINS LLP

                                  Brian C. McManus
                                  Matthew S. Salerno
                                  Timothy H. McCarten
                                  555 Eleventh Street NW, Suite 1000
                                  Washington, D.C. 20004
                                  (202) 637-2200
                                  brian.mcmanus@lw.com
                                  matthew.salerno@lw.com
                                  timothy.mccarten@lw.com

                                  BERGER HARRIS LLP

                                  Richard I. G. Jones, Jr. (#3301)
                                  1105 N. Market Street, Suite 1100
                                  Wilmington, Delaware 19801
                                  (302) 655-1140
                                  rjones@bergerharris.com

                                  Attorneys for Defendant Robert Hunter Biden




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